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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

STACY L. SIMONSON,
                Plaintiff,                    NO. 3:19-CV-00442

              -vs-                            (MARIANI, J.)
                                              (MEHALCHICK, M.J.)
KILOLO KIJAKAZI,
Acting Commissioner of
Social Security,
                    Defendant.      1         [FILED VIA ECF]

                                 ORDER

      On Plaintiff's Motion for Attorney's Fees pursuant to § 206(b)(l) of

the Social Security Act, 42 U.S.C. § 406(b)(l), and there being no

objection by counsel for the Defendant, it is hereby

                             ORDERED

as follows:

      l.   That the Court authorizes a payment to Patrick J. Best,
      Esquire in the amount of Thirty-Three Thousand Nine Hundred
      and Seventy-One Dollars and 75/00 cents ($33,971.75) in
      attorney's fees being withheld from Plaintiffs past-due benefits for
      court-related services;


1 Kilolo Kijakazi became the Acting Commissioner of Social Security on
July 9, 2021. Pursuant to Rule 25(d) of the Federal Rules of Civil
Procedure, Kilolo Kijakazi should be substituted, therefore, for Andrew
Saul as the defendant in this suit. No further action need be taken to
continue this suit by reason of the last sentence of section 205(g) of the
Social Security Act, 42 U.S.C. § 405(g).
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2. Upon receipt of this sum, Plaintiffs counsel shall remit Five
Thousand One Hundred dollars and 00/00 cents ($5,100.00)
directly to Plaintiff, representing the sum already paid to
Plaintiffs counsel on Plaintiffs behalf pursuant to the Equal
Access to Justice Act, 28 U.S.C. § 2412.


          ENTERED this       /3'ii1.ay   of ~               . 2021.




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